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                  IN THE UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA

                                                               Case No.: 0:22-cr-60028-WPD-1
  UNITED STATES OF AMERICA,

                      Plaintiff,

  vs.

  LUKE JOSELIN,

                 Defendant.
  ____________________________________________/

   DEFENDANT’S RESPONSE TO GOVERNMENT’S NOTICE OF INTENT
    TO INTRODUCE INEXTRICABLY INTERTWINED EVIDENCE AND
                    RULE 404(b) EVIDENCE

        The Defendant Luke Joselin, by and through undersigned counsel

  respectfully files a response in opposition to the government’s notice of intent to

  introduce evidence pursuant to Federal Rule of Evidence 404(b). In support

  thereof, Mr. Joselin states:

                                      BACKGROUND

        The indictment in this case charges the Defendant, Mr. Joselin with one

  count of conspiracy to commit wire fraud, in violation of 18 U.S.C § 1349; nine

  counts of wire fraud, in violation of 18 U.S.C. § 1343; and two counts of

  aggravated identity theft, in violation of 18 U.S.C. § 1028 A(a)(1). The



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  charges arise from Mr. Joselin’s involvement with defrauding the Paycheck

  Protection Program (PPP).

         The indictment alleges that Mr. Joselin did willfully, with intent to

  further the object of the conspiracy, and knowingly combine, conspire,

  confederate, and agree with Renaldo Harrison, Judlex Jean Louis, and with

  others known and unknown to the Grand Jury, to commit offenses against

  the United States.

         The indictment further alleges that Mr. Joselin and his co-

  conspirators created email accounts to facilitate the submission of false and

  fraudulent PPP loan applications; created online accounts with Bank

  Processor 1 and Bank Processor 2 to upload, edit, and share drafts of false

  and fraudulent PPP loan applications; created false and fraudulent tax

  forms and bank statements to support the false and fraudulent PPP loan

  applications; used Bank Processor 1’s online portal and Bank Processor 2’s

  online portal to submit false and fraudulent PPP loan applications; used

  false social security numbers or social security numbers stolen from victims

  to disguise their own identities as the true applicants.




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           In the motion to use 404(b) evidence, the government alleges that

  Mr. Joselin and his co-conspirators sought PPP loans of about $20,000.00

  each for sole proprietorships that did not actually exist. The government

  also alleges that Mr. Joselin and his co-conspirators sought PPP loans of

  about $180,000.00 each for businesses which either operated on a smaller

  scale than the applications claimed or had not operated at all for many

  years.

           Additionally, the government proposes to introduce evidence that

  Mr. Joselin and his co-conspirators, in addition to the charged PPP loans,

  applied for loans through a separate pandemic relief program: the

  Economic Injury Disaster Loan (EIDL) program.

           The Government further proposes to introduce evidence that

  before the pandemic, Mr. Joselin and his co-conspirator, Judlex Jean Louis,

  jointly possessed stolen victim personal identifying information (PII), and

  that the pair always intended to use this PII for fraud and that the PPP just

  provided the best opportunity.




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                ARGUMENT AND MEMORANDUM OF LAW

          Under Federal Rule of Evidence 403, a court may exclude relevant

  evidence if its probative value is substantially outweighed by a danger of

  one or more of the following: unfair prejudice, confusing the issues,

  misleading the jury, undue delay, wasting time, or needlessly presenting

  cumulative evidence. In this case, the probative value of Mr. Joselin’s false

  statements in the PPP loan applications and his alleged involvement with

  the EIDL loan is substantially outweighed by the danger of unfair

  prejudice, confusing the issues, and misleading the jury. The EIDL loan is

  only tangentially related to the charged offenses.

           Contrary to the government’s assertion that the loan is

  inextricably intertwined with the instant offense, the evidence about how

  Mr. Joselin obtained the EIDL loan is wholly separate from the allegations

  in the indictment. Therefore, there is a danger that the evidence that Mr.

  Joselin made false statements to obtain the EIDL loan will mislead the jury

  and confuse the issues. Moreover, the evidence of the EIDL loan would be

  unfairly prejudicial. Accordingly, the Court should exclude the evidence of

  the EIDL loan from the trial of this case.




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             Contrary to the government’s argument, the alleged schemes are

  not identical. In the instant case, the government is alleging that Mr. Joselin

  and his co-conspirators sought PPP loans of about $20,000.00 each for sole

  proprietorships that did not actually exist. The government also alleges that

  Mr. Joselin and his co-conspirators sought PPP loans of about $180,000.00

  each for businesses which either operated on a smaller scale than the

  applications claimed or had not operated at all for many years.

          Evidence of uncharged criminal conduct is admissible only if

  relevant to an issue other than the defendant's character or propensity to

  commit a crime. See United States v. Ellisor, 522 F.3d 1255, 1267 (11th

  Cir. 2008). The government is seeking to admit evidence of the EIDL Loan

  to paint Mr. Joselin in bad light. Accordingly, the Court should preclude the

  government from introducing evidence of Mr. Joselin’s involvement with

  the EIDL Loan.

                                  CONCLUSION

           Based upon the above facts and arguments, this Court should

  exclude the evidence the government seeks to introduce pursuant to Federal

  Rule of Evidence 404(b).




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                                  RELIEF REQUESTED

        WHEREFORE, the Defense respectfully requests that this Court exclude

  the proffered 404(b) evidence from the Trial of this cause.


  Date: July 28, 2022

                           CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on July 28, 2022, I electronically filed the
  foregoing which will send a notice of electronic filing to the following:

  The United States Attorney’s Office
  Southern District of Florida
  500 S. Australian Ave.
  West Palm Beach, FL 33041

  Service sent Electronically via Email

                                                                  Respectfully Submitted,

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